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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

BRANDON BOULLION, ET AL * CIVIL ACTION:
* 2:11-cv-923
Plaintifis *
* MDL 10-2179 J (1)
VERSUS *
* JUDGE: BARBIER
ANADARKO PETROLEUM CORPORATION, *
ET AL * MAGISTRATE:
Defendants * SHUSHAN

AFFIDAVIT OF SERVICE OF PROCESS--LONG ARM SERVICE

STATE OF LOUISIANA
PARISH OF LIVINGSTON

Before me, the undersigned Notary Public, personally came and appeared:
COURTNEY S. DAUGHERTY
who first being duly sworn, deposed, and said: That affiant is Paralegal to ROBB

REECH,; that affiant received a true copy of the attached Citation and Petition on May 13, 2011
aud mailed the same, by certified mail, to the defendant, Moex Offshore 2007, LLC through its
agent for service of process, The Corporation Trust Company at 1209 Orange St., Wilmington,
DE 19801, on May 16, 2011; that the same was delivered to the defendant on May 24, 2011; as

more fully appears from the attached post office return receipt for certified mail number 7009

0820 0000 7802 2689. Mew

COURTNE AUPHERTY

Sworn to and subscribed before me on the (, day of Du N Z ,

ch (Zz cnr LSBA # 23268

NOTARY PUBLIC

2011.
